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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                      CASE NO. 8:04CR553-T-EAK-TBM


ALBERT GARCIA
                                             /
                                                 ORDER


       This cause comes before the Court on notice from the Office of the Federal Defender that
it has satisfied the requirements set forth in the Court’s Omnibus Order In Re: Amendment 782,
United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus Order”), and notification
that the office will not be filing a Motion for Sentence Reduction under Amendment 782 on
behalf of Defendant Andrews as to the retroactive application of revised sentencing guidelines
(Doc. 127). The Defendant in this case has not filed his own motion and memorandum in
support of a reduction in sentence under Amendment 782. The Court will allow the Defendant
to file a motion requesting a reduction before it determines the matter. Accordingly, it is.
       ORDERED that defendant has up to and including July 17, 2015 to file a motion and
memorandum in support of his contention that his sentence should be reduced. The government
is directed to file a response to any filings within fifteen days of the date of filing. The Court
will rule on the issue as soon as possible after that date.


       DONE AND ORDERED in Chambers in Tampa, Florida this 19th day of May, 2015.
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Copies furnished to: All Counsel of Record
